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                          UNITED STATES OF AMERICA
            U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

MICHIGAN URGENT CARE &
PRIMARY CARE PHYSICIANS, P.C.
and DUNDEE URGENT CARE, P.C.,

                                                            Case No. 2:15-cv-10440-JCO-DRG
       Plaintiffs,


-vs-


INNOVATIVE HEALTHCARE
SYSTEMS, LLC, and JOHN DOES 1-10,

               Defendants.

                                   NOTICE OF DISMISSAL

       NOW COME the Plaintiffs, by and through their undersigned attorneys, and pursuant to
Fed R. Civ. Proc. 41(a)(1)(A)(ii), hereby voluntarily dismiss Plaintiffs’ individual claims against
Defendant without prejudice, and with each party bearing its own costs. Plaintiffs’ class claims
are dismissed without prejudice and with each party bearing its own costs. This notice of
dismissal disposes of the entire action.

Respectfully submitted,


PLAINTIFF

MICHIGAN URGENT CARE &
PRIMARY CARE PHYSICIANS, P.C.
and DUNDEE URGENT CARE, P.C.,

/s/ Daniel A. Edelman
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                                CERTIFICATE OF SERVICE

        I, Daniel A. Edelman, certify that on April 15, 2015, I caused a true and accurate copy of
the foregoing document to be filed, via the Court’s CM/ECF system, and to be served, as
indicated, on the following parties:

VIA US MAIL to:

               Innovative Healthcare Systems, LLC
               420 S. State Road 7, Suite 118
               Royal Palm Beach, FL 33414


VIA US MAIL AND E-MAIL:

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                                                     /s/ Daniel A. Edelman
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